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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DAWN ANGELIQUE RICHARD,

                            Plaintiff,

                     -v.-

SEAN COMBS, HARVE PIERRE,
REMOTE PRODUCTIONS INC., NEW
REMOTE PRODUCTIONS INC., THE
NORDLINGER GROUP, LLC, NOVEMBER
15, LLC, DADDY’S HOUSE RECORDING
STUDIO, BAD BOY ENTERTAINMENT
LLC, BAD BOY RECORDS LLC, BAD BOY                      24 Civ. 6848 (KPF)
ENTERTAINMENT HOLDINGS INC., BAD
BOY PRODUCTIONS HOLDINGS INC.,                              ORDER
BAD BOY BOOKS HOLDINGS INC., THE
SEAN COMBS MUSIC INC., SEAN
COMBS CAPITAL LLC, COMBS
ENTERPRISES, LLC, UNIVERSAL MUSIC
GROUP NV, INTERSCOPE GEFFEN A&M
RECORDS, COMBS WINES AND SPIRITS
LLC, JANICE COMBS PUBLISHING INC.,
JANICE COMBS PUBLISHING
HOLDINGS INC., LOVE RECORDS INC.,
DOE CORPORATIONS 1-10, AND DOE
DEFENDANTS 11-20,

                            Defendants.

KATHERINE POLK FAILLA, District Judge:

      The Court has reviewed Plaintiff’s extension requests regarding the

deadlines to respond to the Combs Defendants’ pre-motion letter (Dkt. #123)

and Defendant Bad Boy Records LLC’s pre-motion letter (Dkt. #124). It is the

Court’s preference to proceed as follows:

      Plaintiff shall amend her complaint on or before March 10, 2025. All

Defendants in this action shall file a joint letter regarding their intent to answer

the amended complaint, or proposing a briefing schedule for a consolidated
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motion to dismiss, within three weeks of the filing of Plaintiff’s amended

complaint, or on or before March 31, 2025, whichever is sooner.

      Accordingly, the Clerk of Court is directed to terminate the pending

motions at docket entries 85, 121, 122, 123, and 124.

      SO ORDERED.

Dated: January 27, 2025
       New York, New York

                                              KATHERINE POLK FAILLA
                                             United States District Judge




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